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                  Exhibit 2
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     6   Attorneys Specially Appearing for
         ROBERT SILVERSTEIN
     7
     8                          UNITED STATES DISTRICT COURT
     9                        CENTRAL DISTRICT OF CALIFORNIA
    10
    11 RELEVANT GROUP, LLC, a                    )          Case No. 2:19-cv-05019-ODW (KSx)
         Delaware limited liability company;     )
    12   1541 WILCOX HOTEL LLC, a                )          ROBERT SILVERSTEIN’S
         Delaware limited liability company;     )          RESPONSE TO PLAINTIFF’S
    13   6516 TOMMIE HOTEL LLC, a                )          SUBPOENA OF DOCUMENTS
         Delaware limited liability company; and )
    14   6421 SELMA WILCOX HOTEL LLC, )
         a California limited liability company, )
    15                                           )
                             Plaintiffs,         )
    16                                           )
                vs.                              )
    17                                           )
         STEPHAN “SAEED” NOURMAND, )
    18   an individual; THE SUNSET               )
         LANDMARK INVESTMENT LLC, a )
    19   California limited liability company;   )
         and DOES 1-10,                          )
    20                                           )
                             Defendants,         )
    21                                           )
    22
    23         Third party Robert Silverstein, specially appearing in this action through counsel, hereby

    24 responds and objects to the Subpoena to Produce Documents, Information, or Objects or to Permit
    25 Inspection of Premises in a Civil Action (the “Subpoena”) served by Plaintiffs.
    26                                  PRELIMINARY STATEMENT

    27         Each of the following responses is made solely for the purposes of this action. Each response

    28 is subject to the general objections set forth below, which are incorporated herein by reference.


                                                    1
                   ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                         Exhibit 2, Page 17
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     1 These general objections form a part of the response to each and every request for production, and
     2 any subparts therein. These general objections may also specifically be interposed for the purpose
     3 of clarity in response to any particular request.
     4                                      GENERAL OBJECTIONS

     5          1.      The fact that Responding Party has responded or objected to a particular request for

     6 production is not intended and shall not be construed as an admission that Responding Party accepts
     7 or admits the existence of any facts set forth or assumed by such request for production, or that any
     8 part of such responses or objections constitute admissible evidence. The fact that Responding Party
     9 has responded to part or all of any particular request for production is not intended and shall not be
    10 construed as a waiver by Responding Party of any part of any objection to such request for
    11 production, or any part of any general objection made herein. Nothing herein shall be construed as
    12 an admission respecting the admissibility, truth, accuracy or relevance of any document.
    13          2.      To the extent each request for production calls for information that is protected from

    14 disclosure by any privilege, immunity, or specific state or federal statute, including the attorney-
    15 client privilege and attorney work-product doctrine, and to the extent that any request or part thereof
    16 calls for information, legal analysis or reasoning, writings, communications, or anything else
    17 protected from disclosure by the attorney work-product doctrine or the attorney-client privilege, or
    18 any other privilege, Responding Party objects to the request.
    19          3.      Responding Party objects to all requests for production to the extent that they seek

    20 information that is protected by the right to privacy provided by any statute and/or under the United
    21 States Constitution.
    22          4.      To the extent each request for production seeks information which is not related to

    23 any of the claims, allegations or defenses in the subject case, it is objected to as overbroad, unduly
    24 burdensome and seeking information that is neither relevant to this case, nor likely to lead to the
    25 discovery of admissible evidence.
    26          5.      To the extent each request for production calls for information that is not in the

    27 possession, custody or control of Responding Party, it is objected to as overbroad, unduly
    28 burdensome and calling for speculation as to what information may exist or may have once existed.


                                                 2
                ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                         Exhibit 2, Page 18
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     1          6.      Responding Party objects to the terms “YOU” and “YOUR” as they are vague and

     2 ambiguous.
     3          7.      Responding Party objects to the terms “RELATES”, “RELATE TO”, and

     4 “RELATING TO” as they are vague, ambiguous, overbroad and require Responding Party to
     5 speculate on the potential logical, factual or legal relationships of documents and impermissibility
     6 requires a legal opinion by Responding Party or his counsel.
     7          Responding party reserves the right to make changes to the following responses if it appears

     8 that omissions or errors have been made or that further or more accurate information becomes
     9 available. No incidental or implied admission is intended.
    10          Subject to and without waiving any of the foregoing, Responding Party responds as follows.

    11                                   REQUESTS FOR PRODUCTION

    12 REQUEST NO. 1
    13          All    COMMUNICATIONS             with    Casey     Maddren      that   RELATE       TO     the

    14 SELMA/MADDREN LITIGATION.
    15 RESPONSE TO REQUEST NO. 1
    16          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    17 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
    18 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
    19 litigation. Without waiving and subject to the foregoing objections, Responding Party responds as
    20 follows: all responsive documents, if any, in Responding Party’s custody, possession or control will
    21 be produced at a date and place to be agreed upon.
    22 REQUEST NO. 2
    23          All COMMUNICATIONS with Casey Maddren that RELATE TO the SELMA/SUNSET

    24 LITIGATION.
    25 RESPONSE TO REQUEST NO. 2
    26          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    27 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
    28 evidence and as such seeks disclosure of information irrelevant to the subject matter of this


                                                  3
                 ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                           Exhibit 2, Page 19
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     1 litigation. Without waiving and subject to the foregoing objections, Responding Party responds as
     2 follows: all responsive documents, if any, in Responding Party’s custody, possession or control will
     3 be produced at a date and place to be agreed upon.
     4 REQUEST NO. 3
     5          All COMMUNICATIONS with Casey Maddren that RELATE TO any CEQA

     6 CHALLENGE in connection with a property in Los Angeles County in the last 5 years.
     7 RESPONSE TO REQUEST NO. 3
     8          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

     9 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
    10 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
    11 litigation. Without waiving and subject to the foregoing objections, Responding Party responds as
    12 follows: all responsive documents, if any, in Responding Party’s custody, possession or control will
    13 be produced at a date and place to be agreed upon.
    14 REQUEST NO. 4
    15          All COMMUNICATIONS with Casey Maddren that RELATE TO RELEVANT GROUP

    16 or any project developed by RELEVANT GROUP.
    17 RESPONSE TO REQUEST NO. 4
    18          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    19 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
    20 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
    21 litigation. Without waiving and subject to the foregoing objections, Responding Party responds as
    22 follows: all responsive documents, if any, in Responding Party’s custody, possession or control will
    23 be produced at a date and place to be agreed upon.
    24 REQUEST NO. 5
    25          All COMMUNICATIONS with NOURMAND & ASSOCIATES that RELATE TO the

    26 SELMA/MADDREN LITIGATION.
    27 / / /
    28 / / /


                                                  4
                 ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                           Exhibit 2, Page 20
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     1 RESPONSE TO REQUEST NO. 5
     2          Responding Party objects to this request as overbroad, vague and ambiguous. Without

     3 waiving and subject to the foregoing objections, Responding Party responds as follows: there are no
     4 responsive documents.
     5 REQUEST NO. 6
     6          All COMMUNICATIONS with NOURMAND & ASSOCIATES that RELATE TO the

     7 SELMA/SUNSET LITIGATION, THOMPSON LITIGATION, or TOMMIE LITIGATION.
     8 RESPONSE TO REQUEST NO. 6
     9          Responding Party objects to this request as overbroad, vague and ambiguous. Without

    10 waiving and subject to the foregoing objections, Responding Party responds as follows: there are no
    11 responsive documents.
    12 REQUEST NO. 7
    13          All COMMUNICATIONS with NOURMAND & ASSOCIATES that RELATE TO any

    14 CEQA CHALLENGE in connection with a property in Los Angeles County in the last 5 years.
    15 RESPONSE TO REQUEST NO. 7
    16          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    17 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
    18 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
    19 litigation. Without waiving and subject to the foregoing objections, Responding Party responds as
    20 follows: there are no responsive documents.
    21 REQUEST NO. 8
    22          All COMMUNICATIONS with NOURMAND & ASSOCIATES that RELATE TO

    23 RELEVANT GROUP or any project developed by RELEVANT GROUP.
    24 RESPONSE TO REQUEST NO. 8
    25          Responding Party objects to this request as overbroad, vague and ambiguous. Without

    26 waiving and subject to the foregoing objections, Responding Party responds as follows: there are no
    27 responsive documents.
    28 / / /


                                                  5
                 ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                           Exhibit 2, Page 21
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     1 REQUEST NO. 9
     2          All COMMUNICATIONS with NOURMAND & ASSOCIATES that RELATE TO any

     3 meeting with RELEVANT GROUP in connection with the THOMPSON HOTEL PROJECT or
     4 TOMMIE HOTEL PROJECT.
     5 RESPONSE TO REQUEST NO. 9
     6          Responding Party objects to this request as overbroad, vague and ambiguous. Without

     7 waiving and subject to the foregoing objections, Responding Party responds as follows: there are no
     8 responsive documents.
     9 REQUEST NO. 10
    10          All DOCUMENTS that RELATE TO any administrative appeal, objections, legal petition,

    11 or other COMMUNICATION with the City of Los Angeles in which YOU or YOUR client objected
    12 to the height of the THOMPSON HOTEL PROJECT.
    13 RESPONSE TO REQUEST NO. 10
    14          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    15 Party further objects to this request as it seeks disclosure of information protected by the attorney-
    16 client and/or attorney work product privileges. Responding Party further objects to this request as it
    17 seeks disclosure of public records, if any, of the City of Los Angeles which are equally available to
    18 the propounding party.
    19 REQUEST NO. 11
    20          All DOCUMENTS that RELATE TO any administrative appeal, objections, legal petition,

    21 or other COMMUNICATION with the City of Los Angeles in which YOU or YOUR client objected
    22 to the direction that the lightwell was facing and/or the dimensions of the lightwell on the
    23 THOMPSON HOTEL PROJECT.
    24 RESPONSE TO REQUEST NO. 11
    25          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    26 Party further objects to this request as it seeks disclosure of information protected by the attorney-
    27 client and/or attorney work product privileges. Responding Party further objects to this request as it
    28


                                                 6
                ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                        Exhibit 2, Page 22
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     1 seeks disclosure of public records, if any, of the City of Los Angeles which are equally available to
     2 the propounding party.
     3 REQUEST NO. 12
     4          All DOCUMENTS that RELATE TO any administrative appeal, objections, legal petition,

     5 or other COMMUNICATION with the City of Los Angeles in which YOU or YOUR client objected
     6 to there being west-facing balconies on the THOMPSON HOTEL PROJECT.
     7 RESPONSE TO REQUEST NO. 12
     8          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

     9 Party further objects to this request as it seeks disclosure of information protected by the attorney-
    10 client and/or attorney work product privileges. Responding Party further objects to this request as it
    11 seeks disclosure of public records, if any, of the City of Los Angeles which are equally available to
    12 the propounding party.
    13 REQUEST NO. 13
    14          All DOCUMENTS that RELATE TO any administrative appeal, objections, legal petition,

    15 or other COMMUNICATION with the City of Los Angeles in which YOU or YOUR client objected
    16 to the stairwell or setback dimensions on the TOMMIE HOTEL PROJECT.
    17 RESPONSE TO REQUEST NO. 13
    18          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    19 Party further objects to this request as it seeks disclosure of information protected by the attorney-
    20 client and/or attorney work product privileges. Responding Party further objects to this request as it
    21 seeks disclosure of public records, if any, of the City of Los Angeles which are equally available to
    22 the propounding party.
    23 REQUEST NO. 14
    24          All DOCUMENTS that RELATE TO any administrative appeal, objections, legal petition,

    25 or other COMMUNICATION with the City of Los Angeles in which YOU or YOUR client objected
    26 to the economic impact that the THOMPSON HOTEL PROJECT or TOMMIE HOTEL PROJECT
    27 would have on YOUR client.
    28 / / /


                                                 7
                ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                        Exhibit 2, Page 23
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     1 RESPONSE TO REQUEST NO. 14
     2          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

     3 Party further objects to this request as it seeks disclosure of information protected by the attorney-
     4 client and/or attorney work product privileges. Responding Party further objects to this request as it
     5 seeks disclosure of public records, if any, of the City of Los Angeles which are equally available to
     6 the propounding party.
     7 REQUEST NO. 15
     8          All DOCUMENTS that RELATE TO any administrative appeal, objections, legal petition,

     9 or other COMMUNICATION with the City of Los Angeles in which YOU or YOUR client objected
    10 to the fact that 6516 Tommie Hotel, LLC and 1541 Wilcox Hotel LLC were not obligated to assist
    11 and support SUNSET LANDMARK with the City of Los Angeles on any future development
    12 proposal for SUNSET LANDMARK’s property.
    13 RESPONSE TO REQUEST NO. 15
    14          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    15 Party further objects to this request as it seeks disclosure of information protected by the attorney-
    16 client and/or attorney work product privileges. Responding Party further objects to this request as it
    17 seeks disclosure of public records, if any, of the City of Los Angeles which are equally available to
    18 the propounding party.
    19 REQUEST NO. 16
    20          All engagement letters, retention letters, or other contracts RELATING TO YOUR

    21 representation of SUNSET LANDMARK and/or Saeed Nourmand in connection with any CEQA
    22 CHALLENGE.
    23 RESPONSE TO REQUEST NO. 16
    24          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

    25 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
    26 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
    27 litigation. Responding Party further objects to this request as it seeks disclosure of information
    28 protected by the attorney-client and/or attorney work product privileges. Responding Party further


                                                  8
                 ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                           Exhibit 2, Page 24
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  1 objects to this request as it seeks disclosure of financial information in violation of the privacy rights
  2 of Responding Party and/or third parties.
  3 REQUEST NO. 17
  4          DOCUMENTS sufficient to show the amount of any fees incurred RELATING TO

  5 professional services rendered by YOU to SUNSET LANDMARK and/or Saeed Nourmand in
  6 connection with any CEQA CHALLENGE.
  7 RESPONSE TO REQUEST NO. 17
  8          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

  9 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
 10 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
 11 litigation. Responding Party further objects to this request as it seeks disclosure of information
 12 protected by the attorney-client and/or attorney work product privileges. Responding Party further
 13 objects to this request as it seeks disclosure of financial information in violation of the privacy rights
 14 of Responding Party and/or third parties.
 15 REQUEST NO. 18
 16          All invoices for fees incurred RELATING TO professional services rendered by YOU to

 17 Sunset Landmark and/or Saeed Nourmand in connection with any CEQA CHALLENGE.
 18 RESPONSE TO REQUEST NO. 18
 19          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 20 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
 21 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
 22 litigation. Responding Party further objects to this request as it seeks disclosure of information
 23 protected by the attorney-client and/or attorney work product privileges. Responding Party further
 24 objects to this request as it seeks disclosure of financial information in violation of the privacy rights
 25 of Responding Party and/or third parties.
 26 REQUEST NO. 19
 27          All engagement letters, retention letters, or other contracts RELATING TO YOUR

 28 representation of Casey Maddren in connection with any CEQA CHALLENGE.


                                               9
              ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                         Exhibit 2, Page 25
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                                 #:3135

  1 RESPONSE TO REQUEST NO. 19
  2          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

  3 Party further objects to this request as it assumes facts not in evidence. Responding Party further
  4 objects to this request as it is not reasonably calculated to seek disclosure of admissible evidence
  5 and as such seeks disclosure of information irrelevant to the subject matter of this litigation. Without
  6 waiving and subject to the foregoing objections, Responding Party responds as follows: there are
  7 no responsive documents.
  8 REQUEST NO. 20
  9          DOCUMENTS sufficient to show the amount of any fees incurred RELATING TO

 10 professional services rendered by YOU to Casey Maddren in connection with any CEQA
 11 CHALLENGE.
 12 RESPONSE TO REQUEST NO. 20
 13          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 14 Party further objects to this request as it assumes facts not in evidence. Responding Party further
 15 objects to this request as it is not reasonably calculated to seek disclosure of admissible evidence
 16 and as such seeks disclosure of information irrelevant to the subject matter of this litigation. Without
 17 waiving and subject to the foregoing objections, Responding Party responds as follows: there are
 18 no responsive documents.
 19 REQUEST NO. 21
 20          All invoices for fees incurred RELATING TO professional services rendered by YOU to

 21 Casey Maddren in connection with any CEQA CHALLENGE.
 22 RESPONSE TO REQUEST NO. 21
 23          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 24 Party further objects to this request as it assumes facts not in evidence. Responding Party further
 25 objects to this request as it is not reasonably calculated to seek disclosure of admissible evidence
 26 and as such seeks disclosure of information irrelevant to the subject matter of this litigation. Without
 27 waiving and subject to the foregoing objections, Responding Party responds as follows: there are
 28 no responsive documents.


                                              10
             ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                       Exhibit 2, Page 26
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                                 #:3136

  1 REQUEST NO. 22
  2          All engagement letters, retention letters, or other contracts RELATING TO YOUR

  3 representation of NOURMAND & ASSOCIATES in connection with any CEQA CHALLENGE.
  4 RESPONSE TO REQUEST NO. 22
  5          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

  6 Party further objects to this request as it assumes facts not in evidence. Responding Party further
  7 objects to this request as it is not reasonably calculated to seek disclosure of admissible evidence
  8 and as such seeks disclosure of information irrelevant to the subject matter of this litigation. Without
  9 waiving and subject to the foregoing objections, Responding Party responds as follows: there are
 10 no responsive documents.
 11 REQUEST NO. 23
 12          DOCUMENTS sufficient to show the amount of any fees incurred RELATING TO

 13 professional services rendered by YOU to NOURMAND & ASSOCIATES in connection with any
 14 CEQA CHALLENGE.
 15 RESPONSE TO REQUEST NO. 23
 16          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 17 Party further objects to this request as it assumes facts not in evidence. Responding Party further
 18 objects to this request as it is not reasonably calculated to seek disclosure of admissible evidence
 19 and as such seeks disclosure of information irrelevant to the subject matter of this litigation. Without
 20 waiving and subject to the foregoing objections, Responding Party responds as follows: there are
 21 no responsive documents
 22 REQUEST NO. 24
 23          All invoices for fees incurred RELATING TO professional services rendered by YOU to

 24 NOURMAND & ASSOCIATES in connection with any CEQA CHALLENGE.
 25 RESPONSE TO REQUEST NO. 24
 26          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 27 Party further objects to this request as it assumes facts not in evidence. Responding Party further
 28 objects to this request as it is not reasonably calculated to seek disclosure of admissible evidence


                                              11
             ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                       Exhibit 2, Page 27
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                                 #:3137

  1 and as such seeks disclosure of information irrelevant to the subject matter of this litigation. Without
  2 waiving and subject to the foregoing objections, Responding Party responds as follows: there are
  3 no responsive documents.
  4 REQUEST NO. 25
  5          All agreements and contracts RELATING TO or referencing the sharing of information or

  6 litigation strategy between SUNSET LANDMARK and/or Saeed Nourmand, on the one hand, and
  7 any other PERSON, on the other hand, in connection with any CEQA CHALLENGE.
  8 RESPONSE TO REQUEST NO. 25
  9          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 10 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
 11 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
 12 litigation. Responding Party further objects to this request as it seeks disclosure of information
 13 protected by the attorney-client and/or work product and/or common interest privileges. Responding
 14 Party further objects to this request as it assumes facts not in evidence.
 15 REQUEST NO. 26
 16          All DOCUMENTS that RELATE TO RELEVANT GROUP’s payment of money to

 17 SUNSET LANDMARK pursuant to the THOMPSON SETTLEMENT AGREEMENT and the
 18 TOMMIE SETTLEMENT AGREEMENT.
 19 RESPONSE TO REQUEST NO. 26
 20          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 21 Party further objects to this request to the extent that it seeks disclosure of information protected by
 22 the attorney-client and/or attorney work product privileges. Without waiving and subject to the
 23 foregoing objections, Responding Party responds as follows: there are no responsive documents.
 24 REQUEST NO. 27
 25          All DOCUMENTS, including COMMUNICATIONS, that RELATE TO how the $5.5

 26 million SUNSET LANDMARK received in connection with the THOMPSON SETTLEMENT and
 27 TOMMIE SETTLEMENT was distributed, allocated, or spent.
 28 / / /


                                               12
              ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                        Exhibit 2, Page 28
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                                 #:3138

  1 RESPONSE TO REQUEST NO. 27
  2          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

  3 Party further objects to this request to the extent that it seeks disclosure of information protected by
  4 the attorney-client and/or attorney work product privileges. Without waiving and subject to the
  5 foregoing objections, Responding Party responds as follows: there are no responsive documents.
  6 REQUEST NO. 28
  7          All DOCUMENTS, including wire transfers or bank statements, that evidence or reference

  8 any payments or transfers from SUNSET LANDMARK between January 12, 2018 and January 12,
  9 2019.
 10 RESPONSE TO REQUEST NO. 28
 11          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 12 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
 13 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
 14 litigation. Responding Party further objects to this request as it seeks disclosure of financial
 15 information in violation of the privacy rights of Responding Party and/or third parties. Responding
 16 Party further objects as this request seeks disclosure of attorney-client privileged communications.
 17 REQUEST NO. 29
 18          All DOCUMENTS that RELATE TO the negotiation, drafting, and execution of the

 19 THOMPSON SETTLEMENT AGREEMENT and the TOMMIE SETTLEMENT AGREEMENT.
 20 RESPONSE TO REQUEST NO. 29
 21          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 22 Party further objects to this request as it seeks disclosure of information protected by the attorney-
 23 client and/or attorney work product privileges. Without waiving and subject to the foregoing
 24 objections, Responding Party responds as follows: there are no responsive documents.
 25 REQUEST NO. 30
 26          All COMMUNICATIONS with KOAR that RELATE TO any of KOAR’s properties or

 27 proposed developments, including but not limited to any COMMUNICATIONS with KOAR that
 28 RELATE TO any CEQA CHALLENGES in connection with KOAR’s properties.


                                               13
              ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                        Exhibit 2, Page 29
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  1 RESPONSE TO REQUEST NO. 30
  2          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

  3 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
  4 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
  5 litigation. Without waiving and subject to the foregoing objections, Responding Party responds as
  6 follows: there are no responsive documents.
  7 REQUEST NO. 31
  8          All COMMUNICATIONS that RELATE TO any meetings with KOAR that RELATE TO

  9 any CEQA CHALLENGES in connection with KOAR’s properties.
 10 RESPONSE TO REQUEST NO. 31
 11          Responding Party objects to this request as overbroad, vague and ambiguous. Responding

 12 Party further objects to this request as it is not reasonably calculated to seek disclosure of admissible
 13 evidence and as such seeks disclosure of information irrelevant to the subject matter of this
 14 litigation. Responding Party further objects as this request seeks disclosure of attorney-client
 15 privileged communications. Without waiving and subject to the foregoing objections, Responding
 16 Party responds as follows: there are no responsive documents.
 17
 18 Dated: January 11, 2021                 KAUFMAN DOLOWICH & VOLUCK LLP
 19
 20
 21
                                            By:     _____________________________________
                                                    ANDREW J. WAXLER
 22                                                 JENNIFER E. NEWCOMB
 23
                                                    Attorneys Specially Appearing for
                                                    ROBERT SILVERSTEIN
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              ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                                        Exhibit 2, Page 30
Case 2:19-cv-05019-PSG-KS Document 73-5 Filed 06/17/21 Page 16 of 17 Page ID
                                 #:3140

  1                                   PROOF OF SERVICE
  2 STATE OF CALIFORNIA     )
      COUNTY OF LOS ANGELES )
  3
              I am employed in Los Angeles County. My business address is 11755
  4 Wilshire Blvd., Suite 2400, Los Angeles, CA 90025, where this mailing occurred. I
      am over the age of 18 years and am not a party to this cause. I am readily familiar
  5 with the practices of KAUFMAN DOLOWICH & VOLUCK LLP for collection and
      processing of correspondence for mailing with the United States Postal Service.
  6 Such correspondence is deposited with the United States Postal Service the same
      day in the ordinary course of business.
  7
              On January 11, 2021, I served the foregoing documents on the interested
  8 parties in this action entitled as follows:
  9       ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF
                                DOCUMENTS
 10
      [XX] by placing [ ] the original [X] true copies thereof enclosed in sealed envelopes
 11        addressed as follows:
 12                             SEE ATTACHED SERVICE LIST
 13 [XX] (BY E-MAIL ELECTRONIC TRANSMISSION) Based on a court order
              or an agreement of the parties to accept service by e-mail or electronic
 14           transmission, I caused the documents to be sent to the person(s) at the e-mail
              address(es) so indicated on the attached list. I did not receive, within a
 15           reasonable time after the transmission, any electronic message or other
              indication that the transmission was incomplete or unsuccessful.
 16
      [     ] (BY FEDEX) I am “readily familiar with the firm’s practice of collection
 17           and processing correspondence for mailing via Express Mail (or another
              method of delivery providing for overnight delivery pursuant to C.C.P. §
 18           1005(b)). Under that practice, it would be deposited with the United States
              Postal Service or other overnight delivery carrier (in this case, FedEx) on that
 19           same day with postage thereon fully prepaid at Los Angeles, California in the
              ordinary course of business.
 20
      [     ] (BY FACSIMILE) I caused to be served, via facsimile, the above-entitled
 21           document(s) to the office of the addressee so indicated.
 22 [       ] (STATE) I declare under penalty of perjury that the foregoing is true and
              correct.
 23
      [XX] (FEDERAL) I declare that I am employed in the office of a member of the
 24        bar of this court at whose direction the services was made.
 25
      Executed on January 11, 2021, at Los Angeles, California.
 26
 27                                                   ________ _____________________
                                                      Noemi Bernal
 28


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              ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                             Exhibit 2, Page 31
Case 2:19-cv-05019-PSG-KS Document 73-5 Filed 06/17/21 Page 17 of 17 Page ID
                                 #:3141

  1
                                       SERVICE LIST
  2            Relevant Group, LLC, et al. v. Stephan “Saeed” Nourmand, et al.
  3             USDC – Central District, Case No. 2:19-cv-05019-ODW (KSx)
                                                 James H. Turken
  4     Susan K. Leader, Esq.                    Jayesh Patel
        Joshua A. Rubin, Esq.                    Blake L. Osborn
  5     Akin Gump Strauss Hauer & Feld LLP Michael J. Dailey
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  6     Los Angeles, CA 90067-6022               1875 Century Park East, Suite 1900
        Phone: (310) 229-1000                    Los Angeles, California 90067
  7     Fax: (310) 229-1001                      Telephone: 323.880.4520
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  8     rubinj@akingump.com                      james.turken@gmlaw.com
                                                 jay.patel@gmlaw.com
  9     Attorneys for Plaintiffs RELEVANT blake.osborn@gmlaw.com
        GROUP, LLC, 1541 WILCOX                  michael.dailey@gmlaw.com
 10     HOTEL LLC, 6516 TOMMIE
        HOTEL LLC and 6421 SELMA                 Attorneys for Defendants STEPHAN
 11     WILCOX HOTEL LLC                         SAEED NOURMAND AND THE
                                                 SUNSET LANDMARK
 12                                              INVESTMENT, LLC

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      4851-2200-6738, v. 1
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               ROBERT SILVERSTEIN’S RESPONSE TO PLAINTIFF’S SUBPOENA OF DOCUMENTS
                                                                          Exhibit 2, Page 32
